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                      EXHIBIT A
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McLaughlin, Abigail

From:                                David Vallejos <soundinstaller441@gmail.com>
Sent:                                Tuesday, March 11, 2025 4:18 PM
To:                                  McLaughlin, Abigail
Cc:                                  Sain, Tony; Tridente, Austin; Kazanjian, Tereza; Hamedi, Ali
Subject:                             Re: Vallejos (Plaintiff) Ex Parte App to Continue Opp to Motion for Preliminary
                                     Injunction Deadline
Attachments:                         mansfield-certification-plus-badge-color-2023-2024-v2(1)resized_37645725-83ca-4f0d-
                                     a1da-4223c37b12f8.png; Logo_e6253148-26a1-47a9-b861-6ac0ff0bc3c4.png



   EXTERNAL


I will be happy to give extensions later in the case but a preliminary injunction is an expedited process. Thank you for
understanding. With best regards.

On Tue, Mar 11, 2025, 4:06 PM David Vallejos <soundinstaller441@gmail.com> wrote:
 No. I do not consent to an extension. Thank you for reaching out to me. Take care..

 On Tue, Mar 11, 2025, 4:05 PM McLaughlin, Abigail <Abigail.McLaughlin@lewisbrisbois.com> wrote:

  Good afternoon, Mr. Vallejos:



  Thank you for taking the time to speak with me today regarding the Court’s Order scheduling the
  briefing schedule and hearing on your Motion for Preliminary Injunction.



  As discussed, we have not yet made an appearance in this matter on behalf of Sheriff Bianco, and thus
  were not aware until today of the Court’s Order until today, which states that our Opposition to your
  Motion for Preliminary Injunction is due tomorrow. Unfortunately, we are not able to Oppose that
  Motion for Preliminary Injunction in that time frame because we just were retained in this matter and
  asked if you’d be willing to stipulate to an extension. You stated you would oppose any extension;
  thus, we told you we would need to bring an Ex Parte Application for Relief.



  We will provide that Ex Parte Application to you today via e-mail and file it with the Court. As
  discussed, the Court usually gives you approximately 24 hours to respond.



  If you have any further questions or concerns or will reconsider agreeing to an extension, please feel
  free to contact me.


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Thank you,



Abigail

                                                Abigail J. R. McLaughlin (She/Her)
                                                Partner
                                                Abigail.McLaughlin@lewisbrisbois.com

                                                T: 213.358.6001 F: 213.250.7900

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                      EXHIBIT B
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